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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:05CR131
                                             )
              Plaintiff,                     )
                                             )                MEMORANDUM
              vs.                            )                 AND ORDER
                                             )
PABLO REZA LANDIN,                           )
                                             )
              Defendant.                     )

       This matter is before the Court on the Defendant’s appeal (Filing No. 149) from the

Magistrate Judge’s order (Filing No. 146) denying the Defendant’s motion to continue trial.

                               FACTUAL BACKGROUND

       On March 24, 2005, the Defendant was charged with five codefendants in an

Indictment with conspiracy to distribute or possess with intent to distribute 500 grams or

more of a mixture or substance containing methamphetamine. (Filing No. 1.) On March

30, 2005, Landin made his initial appearance, and Michael Levy was appointed as defense

counsel. (Filing Nos. 16, 21.) On April 27, 2005, a conference was held pursuant to

Federal Rule of Criminal Procedure 17.1. (Filing No. 49.) No pretrial motions were filed

relating to trial evidence. On November 14, 2005, trial was scheduled for January 30,

2006. (Filing No. 120.) On December 3, 2005, Hugh Abrahamson entered his appearance

as retained counsel. (Filing No. 129.) On December 5, Mr. Levy’s motion to withdraw was

granted, and on the same date he provided discovery materials to Mr. Abrahamson. (Filing

Nos. 131, 132.) On January 10, 2006, Mr. Abrahamson moved to continue the trial date

and provided a signed speedy trial affidavit. (Filing No. 145.) U.S. Magistrate Judge F.A.
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Gossett denied the motion, noting that upon appointment counsel was or should have been

aware that the case was specially set for January 30, 2006. Judge Gossett declined to

continue trial based on counsel’s statement that he might need more time to file pretrial

motions. (Filing No. 146.) The Defendant appeals from this Order. (Filing No. 149.)

Defense counsel also moves to stay Judge Gossett’s order denying the requested

continuance (Filing No. 149), and filed a brief in support of the appeal (Filing No. 149). 1

                                        STANDARD

       Defense counsel is mistaken that the standard of review in this Court is abuse of

discretion. See Defendant’s Brief in Support of Appeal, at 1.

       Pursuant to 28 U.S.C. § 636(b)(1)(A) and NECrimR 57.2, the court has reviewed the

order from which this appeal has been taken. In an appeal from a magistrate judge's order

on a pretrial matter within 28 U.S.C. § 636(b)(1)(A), a district court may set aside any part

of the magistrate judge's order shown to be clearly erroneous or contrary to law. 28 U.S.C.

§ 636(b)(1)(A); NECrimR 57.2(c).

                                       DISCUSSION

       A district court may in its discretion continue a trial, after considering the following

factors:2


       1
        Counsel is advised to file each document as a separate filing; otherwise, the
electronic filing system’s docket sheet does not reflect these filings and the motion
tracking system does not reflect, in this case, the motion to stay.
       2
       In his brief, defense counsel cites to factors considered in a case decided by
the Seventh Circuit Court of Appeals. Defendant’s Brief in Support of Appeal at 1.

                                              2
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       (1) the nature of the case and whether the parties have been allowed
       adequate timing for trial preparation;
       (2) the diligence of the party requesting the continuance;
       (3) the conduct of the opposing party and whether a lack of cooperation has
       contributed to the need for a continuance;
       (4) the effect of the continuance and whether a delay will seriously
       disadvantage either party; and
       (5) the asserted need for the continuance, with weight to be given to sudden
       exigencies and unforeseen circumstances.

United States v. Issaghoolian, 42 F.3d 1175, 1177-78 (8 th Cir. 1994) (originating in the

District of Nebraska).

       In his brief in support of the appeal, defense counsel for the first time raises the

matter of his throat surgery and the resulting increased workload on his Spanish-speaking

partner, Mr. Downey. (Filing No. 149.) A document filed on December 13, 2005, in

another case reflects that Mr. Abrahamson’s throat surgery was on December 2, 2005.

United States v. Castro-Garzon, No. 8:04CR302, Filing No. 202 (Brief). Mr. Abrahamson

entered his appearance in this case one day following his surgery.

       Considering the factors listed above, and the particular circumstances of this case,

the Court does not conclude that Judge Gossett’s decision exercising his discretion in

denying the requested continuance is clearly erroneous or contrary to law. The Court finds

that each factor weighs against the Defendant. Counsel was retained at a time when he

certainly was aware of his recovery period following surgery and the effect on his office.

No evidence has been presented indicating that Mr. Abrahamson has suffered undue

complications as a result of the surgery. Counsel might need to hire an interpreter in light

of the circumstances; a list of qualified interpreters is available from the Clerk of the Court


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or the Federal Public Defender’s Office. Balancing the various factors, the Court finds that

the interest of the Defendants3 in a speedy trial and the special setting prevail over the

reasons stated by defense counsel in support of the continuance and the appeal.

       IT IS ORDERED:

       1.     The Defendant’s appeal from the Magistrate Judge’s Order (Filing No. 149)

is denied; and

       2.     The Magistrate Judge’s Order (Filing No. 146) denying the Defendant’s

motion to continue trial is affirmed.

       DATED this 13th day of January, 2006.

                                                 BY THE COURT:

                                                 s/Laurie Smith Camp
                                                 United States District Judge




       3
        Three Defendants are proceeding to trial.

                                             4
